                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

IN RE: REALPAGE, INC., RENTAL                   Case No. 3:23-MD-3071
SOFTWARE ANTITRUST LITIGATION                   MDL No. 3071
(NO. II)
                                                This Document Relates to:
                                                ALL CASES

                                                Chief Judge Waverly D. Crenshaw, Jr.




    DEFENDANTS’ MOTION TO DISMISS MULTIFAMILY PLAINTIFFS’ FIRST
         AMENDED CONSOLIDATED CLASS ACTION COMPLAINT


       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants move to dismiss the

Multifamily Plaintiffs’ First Amended Consolidated Class Action Complaint, ECF No. 314, filed

by Plaintiffs. This Motion to Dismiss is supported by the accompanying Memorandum of Law in

Support of Motion to Dismiss Multifamily Plaintiffs’ First Amended Consolidated Class Action

Complaint, the Declaration of Stephen C. Whittaker (the “Whittaker Declaration”), and the

exhibits to the Whittaker Declaration.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 7, 2023, I electronically filed the foregoing document with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

attorneys of record registered on the CM/ECF system.

       DATED this 7th day of July, 2023.



                                                   /s/ Jay Srinivasan
                                                                 Jay Srinivasan




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